Case 6:23-bk-03027-GER Doc14 Filed 08/09/23 Page 1of3

FILED

UNITED STATES BANKRUPTCY COURT

MIDDLE DISTRICT OF FLORIDA AUG -9 2023
ORLANDO DIVISION :
www.flmb.uscourts.gov ~ Glerk, U.S. Bankruptcy,

Orlando Division
Case No.  6:23-bk-03027-GER
IN RE: Chapter: 13
JACQUELINE CUSHING

Debtor.

DEBTOR’S MOTION TO EXTEND DEADLINE TO FILE SCHEDULES AND
CHAPTER 13 PLAN

The debtor, Jacqueline Cushing, ("Debtor"), through the undersigned, requests that the

Court extend the time for the Debtor to file Schedules and the Chapter 13 Plan herein and in support

_ States:

1, The Debtor files this bankruptcy case on July 28, 2023 without schedules and other
required documents.

2. The Court entered a Notice of Deficient Filing giving the Debtor 14 days to file the
missing schedules and other required information.

3. The Debtor wishes to proceed with this case with counsel who is to file all required
schedules and the Chapter 13 Plan.

4, Debtors’ Voluntary Petitions were filed on an emergency basis due to various

pressures the Debtors were experiencing from multiple creditors.
Case 6:23-bk-03027-GER Doc14_ Filed 08/09/23 Page 2 of 3

5, As a result of this, Debtors request additional time to retain counsel so that the
required documentation may be completed by counsel.

6. Debtor has placed multiple phone calls and inquiries to multiple law offices in order
to obtain counsel but is waiting to hear back.

7. Upon obtaining counsel, debtors will need sufficient time to allow counsel to
prepare documents.

8. This requested extension is not made for the purpose of delay or any other improper
or dilatory purpose but rather to permit Debtors to provide a complete and accurate

copy of the Required Filings.
WHEREFORE, the Debtor requests entry of an order extending the time for the filing of

Schedules and Chapter 13 Plan to August 31, 2023 and further relief the Court deems just and

proper.

Dated: August 9, 2023.

BY:

Y
/s/ Jacqueline Cushing
(860) 710-0827
ackiej25@aol.com

8149 Woodsworth Drive,
Orlando, FL 32817

Case 6:23-bk-03027-GER Doc14 Filed 08/09/23 Page 3 of 3

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
either by electronic transmission or by to: Laurie K. Weatherford, Chapter 13 Trustee, PO Box

3450, Winter Park, FL 32790 and to all creditors and interested parties on Debtor’s mailing matrix

BY: Gta” CG

on this 9" day of August, 2023.

7

/s/ Jacqueline Cushing
(860) 710-0827
ackiej25@aol.com

8149 Woodsworth Drive,
Orlando, FL 32817

